      Case 3:23-cv-04119-RFL Document 46-1 Filed 08/02/24 Page 1 of 7



 1    WADE KILPELA SLADE LLP                       WADE KILPELA SLADE LLP
      Gillian L. Wade, State Bar No. 229124        David Slade
 2    gwade@waykayslay.com                         slade@ waykayslay.com
      Sara D. Avila, State Bar No. 263213          1 Riverfront Place, Suite 745,
 3    sara@waykayslay.com                          North Little Rock, AR 72114
      Marc A. Castaneda, State Bar No. 299001      Telephone: (501) 417-6445
 4    marc@waykayslay.com                          Facsimile: (424) 276-0473
      2450 Colorado Ave., Suite 100E,
 5    Santa Monica, CA 90404                       wh LAW
      Telephone: (310) 667-7273                    Brandon Haubert
 6    Facsimile: (424) 276-0473                    brandon@wh.law
                                                   Jessica Hall
 7    MILSTEIN JACKSON FAIRCHILD                   jessica@wh.law
      & WADE, LLP                                  1 Riverfront Place, Suite 745
 8    Mark A. Milstein, State Bar No. 155513       North Little Rock, AR 72114
      mmilstein@mjfwlaw.com                        Telephone: 501.891.6000
 9    2450 Colorado Ave., Ste. 100E                Facsimile: 501.222.3027
      Santa Monica, California 90404
10    Tel: (310) 396-9600
      Fax: (310) 396-9635
11
      Attorneys for Plaintiffs individually and
12    on behalf of all others similarly situated
13
14
                                      UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16

17
     SHANNON IRELAND-GORDY and                          Case No. 3:23-CV-04119-RFL
18   STEPHANIE IRELAND GORDY, MELISSA
     BROAD, and JANE DOE individually and on            DECLARATION OF MARC A.
19   behalf of all others similarly situated,           CASTANEDA IN SUPPORT OF
                                                        PLAINTIFFS’ MOTION TO PROCEED
20                      Plaintiffs,                     UNDER A PSEUDONYM AS TO JANE
                                                        DOE
21          v.
                                                        Hearing Date:       September 17, 2024
22   TILE, INC., LIFE360, INC., and                     Hearing Time:       10:00 a.m.
     AMAZON.COM, INC.,                                  Judge:              Rita F. Lin
23                                                      Dept.               15
                        Defendants.
24
25
26
27
28
                                                       DECLARATION OF MARC A. CASTANEDA IN SUPPORT OF
                                                     PLAINTIFFS’ MOTION TO PROCEED UNDER A PSEUDONYM
                                                                               CASE NO. 3:23-CV-04119-RFL
       Case 3:23-cv-04119-RFL Document 46-1 Filed 08/02/24 Page 2 of 7



 1   I, Marc A. Castaneda, hereby declare as follows:
 2          1.      I am admitted to the bar of this state and am an associate at Milstein Jackson
 3   Fairchild & Wade, LLP (“MJFW”), counsel of record for Plaintiffs Shannon Ireland-Gordy,
 4   Stephanie Ireland Gordy, Melissa Broad, and Jane Doe (“Plaintiffs”). I have personal knowledge
 5   of the facts set forth in this declaration, and, if called as a witness, could and would competently
 6   testify thereto under oath.
 7          2.      This declaration is submitted in support of Plaintiffs’ Motion to Proceed Under a
 8   Pseudonym as to Jane Doe, filed concurrently herewith.
 9          3.      Attached as “Exhibit A” is a true and correct copy of an email I received from Jeffrey
10   M. Gutkin, counsel of record for Defendants Tile, Inc. and Life360, Inc. (“Defendants”) on July
11   22, 2024.
12          I declare under the penalty of perjury that the foregoing is true and correct and that this
13   declaration was executed on this 2nd day of August, 2024 in Los Angeles, California.
14
15
                                                  _______________________
16                                                Marc A. Castaneda

17
18
19

20
21
22
23
24
25
26
27
28
                                                      1            DECLARATION OF MARC A. CASTANEDA ISO
                                                                   MOTION TO PROCEED UNDER A PSEUDONYM
                                                                                 CASE NO. 3:23-CV-04119-RFL
Case 3:23-cv-04119-RFL Document 46-1 Filed 08/02/24 Page 3 of 7




EXHIBIT A
8/1/24, 4:07 PM     Case 3:23-cv-04119-RFL Document    46-1
                                                Mail - Marc      Filed
                                                            Castaneda    08/02/24 Page 4 of 7
                                                                      - Outlook



  RE: Activity in Case 3:23-cv-04119-RFL Ireland-Gordy et al v. Tile, Inc. et al Administrative
  Motion to File Under Seal
  Gutkin, Jeff <jgutkin@cooley.com>
  Mon 7/22/2024 4:03 PM
  To:David Marin <dmarin@mjfwlaw.com>;Bernstein, Max A. <mbernstein@cooley.com>;Chapman, Ellie (SEA)
  <EChapman@perkinscoie.com>;Sipos, Charles (SEA) <CSipos@perkinscoie.com>;LeBlanc, Travis <tleblanc@cooley.com>;Main,
  Amanda <amain@cooley.com>;Asthana, Aditi <AAsthana@cooley.com>;Gillian Wade <gwade@mjfwlaw.com>;David F. Slade
  <slade@wh.law>
  Cc:Sara Avila <savila@mjfwlaw.com>;Marc Castaneda <mcastaneda@mjfwlaw.com>
  Gillian and team –

  I’m writing in connection with Jane Doe’s use of a pseudonym in the Amended Complaint and the motion to seal
  her name that you filed last week. It is our understanding that, in the Ninth Circuit and this district, a plaintiff
  who wishes to proceed pseudonymously files a motion to do so concurrent with, or soon after, their complaint.
  See, e.g., Yeh v. Mayorkas, No. 4:24-CV-00797-KAW, 2024 WL 2263392, at *1 (N.D. Cal. Apr. 22, 2024); Jane
  Roes 1-2 v. SFBSC Mgmt., LLC, 77 F. Supp. 3d 990, 992 (N.D. Cal. 2015). Can you please let us know when
  you intend to file such a motion or if you have some other intention for addressing this question?

  We consider a motion to proceed under a pseudonym, as compared to a sealing motion concerning a
  declaration, the proper context to resolve this issue. We will be able to formulate our position once Plaintiff Doe
  files a motion that sets out the reasoning and authority on which Plaintiff Doe relies. For now, we do not intend
  to oppose your sealing motion, but please do not interpret our non-opposition as a waiver of any rights.

  Thank you.

  From: David Marin <dmarin@mjfwlaw.com>
  Sent: Thursday, July 18, 2024 3:55 PM
  To: Bernstein, Max A. <mbernstein@cooley.com>; Chapman, Ellie (SEA) <EChapman@perkinscoie.com>;
  Sipos, Charles (SEA) <CSipos@perkinscoie.com>; Gutkin, Jeff <jgutkin@cooley.com>; LeBlanc, Travis
  <tleblanc@cooley.com>; Main, Amanda <amain@cooley.com>; Asthana, Aditi <AAsthana@cooley.com>
  Cc: Gillian Wade <gwade@mjfwlaw.com>; Sara Avila <savila@mjfwlaw.com>; Marc Castaneda
  <mcastaneda@mjfwlaw.com>; David F. Slade <slade@wh.law>
  Subject: RE: Activity in Case 3:23-cv-04119-RFL Ireland-Gordy et al v. Tile, Inc. et al Administrative Motion to
  File Under Seal

  [External]

  Dear Counsel,
  Attached please find a copy of the unredacted declaration of Jane Doe. This is an exact copy of the file served
  on Monday, July 15, 2024.

  Please let me know if you have any questions.
  Thank you,

  David Marin
  Paralegal to Gillian L. Wade, Esq.,Sara D. Avila, Esq,
  and Marc A. Castaneda, Esq.
  MILSTEIN JACKSON FAIRCHILD & WADE, LLP
  2450 Colorado Avenue
  Suite 100E
  Santa Monica, CA 90404
  Tel: (310) 396-9600, ext. 149

https://outlook.office.com/mail/id/AAQkAGM2MjkzZjBlLTNmNTEtNGNjMy04ZjEyLTM5MjYxMjU2YWQ3NQAQAPvhgehMuE5Bjmm6%2FWl9rlU%3D   1/4
8/1/24, 4:07 PM           Case 3:23-cv-04119-RFL Document    46-1
                                                      Mail - Marc      Filed
                                                                  Castaneda    08/02/24 Page 5 of 7
                                                                            - Outlook
  Fax: (310) 396-9635
  dmarin@mjfwlaw.com
  www.mjfwlaw.com

  This email and any information and/or files transmitted with it may contain confidential information that is legally privileged and is intended solely for the
  use of the individual or entity to whom they are addressed. No privilege or right to confidentiality is waived by this email transmission. If you are not the
  intended recipient, or a person responsible for delivering it to the intended recipient, you are hereby notified that any disclosure, copying, dissemination,
  distribution, or use of any of the information contained in or attached to this transmission is strictly prohibited. If you have received this email in error
  please notify the sender by reply email at dmarin@mjfwlaw.comand destroy the original transmission and its attachments without reading or saving them
  in any manner. Thank you.


  From: ECF-CAND@cand.uscourts.gov <ECF-CAND@cand.uscourts.gov>
  Sent: Thursday, July 18, 2024 3:42 PM
  To: efiling@cand.uscourts.gov
  Subject: Activity in Case 3:23-cv-04119-RFL Ireland-Gordy et al v. Tile, Inc. et al Administrative Motion to File
  Under Seal


  This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to
  this e-mail because the mail box is unattended.
  ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
  attorneys of record and parties in a case (including pro se litigants) to receive one free electronic
  copy of all documents filed electronically, if receipt is required by law or directed by the filer. PACER
  access fees apply to all other users. To avoid later charges, download a copy of each document
  during this first viewing. However, if the referenced document is a transcript, the free copy and 30
  page limit do not apply.

                                                                     U.S. District Court

                                                              California Northern District

  Notice of Electronic Filing

  The following transaction was entered by Wade, Gillian on 7/18/2024 at 3:41 PM and filed on
  7/18/2024
  Case Name:           Ireland-Gordy et al v. Tile, Inc. et al
  Case Number:         3:23-cv-04119-RFL
  Filer:               Melissa Broad
                       Jane Doe
                       Stephanie Ireland Gordy
                       Shannon Ireland-Gordy
  Document Number: 43

  Docket Text:
  Administrative Motion to File Under Seal Declaration of Jane Doe filed by Melissa Broad, Jane Doe,
  Stephanie Ireland Gordy, Shannon Ireland-Gordy. (Attachments: # (1) Declaration of David Slade in
  Support of Plaintiffs' Administrative Motion to File Under Seal, # (2) Redacted Declaration of Jane
  Doe, # (3) Unredacted Declaration of Jane Doe, # (4) Proposed Order)(Wade, Gillian) (Filed on
  7/18/2024)


  3:23-cv-04119-RFL Notice has been electronically mailed to:

  Amanda Alison Main                   amain@cooley.com, jcorrell@cooley.com
https://outlook.office.com/mail/id/AAQkAGM2MjkzZjBlLTNmNTEtNGNjMy04ZjEyLTM5MjYxMjU2YWQ3NQAQAPvhgehMuE5Bjmm6%2FWl9rlU%3D                                            2/4
8/1/24, 4:07 PM     Case 3:23-cv-04119-RFL Document    46-1
                                                Mail - Marc      Filed
                                                            Castaneda    08/02/24 Page 6 of 7
                                                                      - Outlook


  Charles Christian Sipos          csipos@perkinscoie.com, docketSEA@perkinscoie.com

  Gillian Leigh Wade         gwade@mjfwlaw.com, dmarin@mjfwlaw.com, lholifield@waykayslay.com

  Jeffrey Gutkin gutkinjm@cooley.com, carol-dickerson-7279@ecf.pacerpro.com, efiling-
  notice@ecf.pacerpro.com, eFilingNotice@cooley.com, john-brocales-7263@ecf.pacerpro.com

  Marc Alexander Castaneda             mcastaneda@mjfwlaw.com, dmarin@mjfwlaw.com

  Max Bernstein , Esq mbernstein@cooley.com, efiling-notice@ecf.pacerpro.com,
  efilingnotice@cooley.com, mmagana@cooley.com

  Sam Blankenship          sblankenship@cgsh.com

  Sara Dawn Avila         savila@mjfwlaw.com, dmarin@mjfwlaw.com

  Travis LeBlanc tleblanc@cooley.com, avera@cooley.com, efiling-notice@ecf.pacerpro.com,
  efilingnotice@cooley.com

  3:23-cv-04119-RFL Please see Local Rule 5-5; Notice has NOT been electronically mailed to:

  The following document(s) are associated with this transaction:
   Document description:Main Document
   Original filename:C:\fakepath\2024-7-18 Administrative Motion to File Under Seal (for filing).pdf
   Electronic document Stamp:
   [STAMP CANDStamp_ID=977336130 [Date=7/18/2024] [FileNumber=21492141-0]
   [130098e7e393fe6809758b8a8f70416864af6724259ad668aa217799c0a0a9d1255d
   d885f0119159fa935e8b995a956b4f37baa9a3af882e73291eaa50117e36]]
   Document description:Declaration of David Slade in Support of Plaintiffs' Administrative Motion to
   File Under Seal
   Original filename:C:\fakepath\2024-7-18 Declaration of David Slade ISO Motion to File Under Seal
   (for filing).pdf
   Electronic document Stamp:
   [STAMP CANDStamp_ID=977336130 [Date=7/18/2024] [FileNumber=21492141-1]
   [23cc9d3048da5fbceae8f9d3153ddd16021ba9c83d186596046896a2db1600a95301
   16ae6e764e77e466935fb46d87799152f0973bb7950caacf47a7eda85f43]]
   Document description: Redacted Declaration of Jane Doe
   Original filename:C:\fakepath\Exhibit 1- Redacted 2024-7-12 Declaration of Jane Doe (for filing).pdf
   Electronic document Stamp:
   [STAMP CANDStamp_ID=977336130 [Date=7/18/2024] [FileNumber=21492141-2]
   [2f8f6c807cba2a3e044aa0f6fd21df3dad9a4270b888ba3e4d1db94360df95299f26
   5ddbb1267f2bc12c2393071b1c0d02b9624767b9f16d848ce7c0b894ff03]]
   Document description: Unredacted Declaration of Jane Doe
   Original filename:C:\fakepath\Exhibit 2 - Unredacted 2024-7-12 Declaration of Jane Doe.pdf
   Electronic document Stamp:
   [STAMP CANDStamp_ID=977336130 [Date=7/18/2024] [FileNumber=21492141-3]
   [000d363b27953fba76b9a60395bb9492837ebdb09d46fe2ad29a1cbeaef01a36f47f
   288b31580652a7d88f63a5e95c42d423d2d2a02525a7b34eb04c9ec351ed]]
   Document description:Proposed Order
   Original filename:C:\fakepath\2024-7-18 Proposed Order.pdf
   Electronic document Stamp:
   [STAMP CANDStamp_ID=977336130 [Date=7/18/2024] [FileNumber=21492141-4]
https://outlook.office.com/mail/id/AAQkAGM2MjkzZjBlLTNmNTEtNGNjMy04ZjEyLTM5MjYxMjU2YWQ3NQAQAPvhgehMuE5Bjmm6%2FWl9rlU%3D   3/4
8/1/24, 4:07 PMCase 3:23-cv-04119-RFL Document     46-1
                                            Mail - Marc      Filed
                                                        Castaneda    08/02/24 Page 7 of 7
                                                                  - Outlook
   [115056e887bb4810724df9063543f5f888bbd94cfe4230c5ce22b3b49a5f299c0e08
   74f500b61bee797f50bd1681fc4f2a15844bfbc88387b755bf564b7c16f5]]




  This email message is for the sole use of the intended recipient(s) and may contain confidential and privileged information. Any unauthorized review, use, disclosure
  or distribution is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies of the original message. If you are
  the intended recipient, please be advised that the content of this message is subject to access, review and disclosure by the sender's Email System Administrator.




https://outlook.office.com/mail/id/AAQkAGM2MjkzZjBlLTNmNTEtNGNjMy04ZjEyLTM5MjYxMjU2YWQ3NQAQAPvhgehMuE5Bjmm6%2FWl9rlU%3D                                                       4/4
